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  IT IS ORDERED as set forth below:



  Date: November 3, 2017                  ___________________________

                                                    W. Homer Drake
                                              U.S. Bankruptcy Court Judge
  _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

IN THE MATTER OF:                :           CASE NUMBERS
                                 :
DEXTER EUGENE WEBB,              :           BANKRUPTCY CASE
ROBYN CHRISTINE WEBB,            :           17-10835-WHD
      Debtors.                   :
________________________________ :
                                 :
                                 :
                                 :           IN PROCEEDINGS UNDER
                                 :           CHAPTER 13 OF THE
                                 :           BANKRUPTCY CODE
                                 :

                                     ORDER

      Before the Court is the Debtors’ Motion for Stay Pending Appeal (hereinafter

the “Motion”). (Doc. No. 37). The Debtors, acting pro se, filed the Motion on

September 7, 2017. The Debtors assert that the failure to comply with the Chapter 13
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plan resulted from “misrepresentation by my attorney.” Id.

                                       Background

      On August 17, 2017, the Court denied confirmation of the Debtors’ Chapter

13 plan and dismissed the case with prejudice, rendering the Debtors ineligible to

file for relief under Chapter 13 for 180 days. (Doc. No. 30). On August 21, 2017, the

Debtors filed a Motion to Reconsider and Requesting a New Trustee/Attorney.

(Doc. No. 33). On the August 25, 2017, the Court denied this motion. (Doc. No. 34).

      On September 7, 2017, the Debtors’ filed the instant Motion. The Debtors

blame their failure to comply with the Chapter 13 plan on their attorney, stating the

failure was “[d]ue to misrepresentation by my attorney.” (Doc. No. 37). Due to the

vagueness of the Debtors’ Motion, the Court will address the Motion under the

assumption that the Debtors desire to have the Court’s August 17th Order, which

dismissed the Debtors with prejudice, stayed pending the outcome of appeal. The

Court concludes as follows.

                                        Discussion

      The Court shall liberally construe the pro se litigants’ pleadings. McWeay v.

Citibank, N.A., 521 Fed. App’x 784, 787 (11th Cir. 2013). However, the Court

cannot act as de facto counsel and rewrite deficient pleadings. Id. at 788.
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      Rule 8007 provides, in pertinent part, that a party, ordinarily, must move first

in the bankruptcy court for “stay of a judgment, order, or decree of the bankruptcy

court pending appeal.” Fed. R. Bankr. P. 8007(a)(1). The decision as to whether or

not to grant such a stay lies within the sound discretion of the court. In re Sabine Oil

& Gas Corporation, 551 B.R. 132, 142 (Bankr. S.D.N.Y 2016). In determining

whether a discretionary stay should be granted, courts have adopted a test comprised

of four factors: (1) the likelihood that the movant will prevail on the merits of

appeal; (2) whether, absent a stay, the movant will suffer irreparable damage; (3)

whether the adverse party will suffer no substantial harm from the issuance of the

stay; and (4) whether the public interest will be served, rather than disserved, by

issuing the stay. In re Arnal, 2003 Bankr. LEXIS 2258, 2003 WL 22709326, at *1

(Bankr. S.D. Ga. 2003) (citing Garcia-Mir v. Meese, 781 F.2d 1450, 1453 (11th Cir.

1986)).

      Ordinarily, the first factor, likelihood of success on appeal, carries the most

weight when determining whether to grant a stay pending appeal. Id. The movant

must demonstrate a probable likelihood of success on the merits of appeal. Id.

However, a lower standard, in certain situations, may be enough to warrant the

granting of a stay pending appeal. Where the “balancing of the equities” (factors two
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through four) weighs heavily in favor of granting the stay, the movant need only

show a substantial case on the merits. Id.

      Here, the Debtors have not met the burden of showing a “probable” likelihood

of success on the merits of appeal. The Debtors have not demonstrated any

persuasive authority that would lead this Court to different legal conclusions. See In

re Williamson, 414 B.R. 892, 894 (Bankr. S.D. Ga. 2009). In fact, the Debtors’

Motion contains no arguments or assertions that lend even the smallest amount of

support to the Debtors’ Motion. (See Doc. No. 37).

      In order for the lesser burden to apply in this case, the Debtors must show that

the “balancing of the equities” weighs heavily in their favor. The Debtors have not

met this burden. The Debtors have shown neither that they will suffer irreparable

damage nor that other interested parties will not suffer substantial harm if the stay is

not granted. Last, public interest is served by denying the Debtors’ Motion. It is in

the public interest to uphold the integrity and prevent abuse of the Bankruptcy

System. The Court, in its August 17th Order, provided several reasons for the

Debtors’ dismissal with prejudice, including: the Debtors’ delinquency in making

plan payments; the Debtors filing eight (8) other previous bankruptcy cases; and that

the Debtors’ actions were unreasonable and prejudicially delayed the Chapter 13
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proceedings. (See Doc. No. 30). Public interest is not served by conveying a benefit

upon persons who act in such a manner. Accordingly,

      IT IS ORDERED that the Debtors’ Motion for Stay Pending Appeal is

DENIED.

      The Clerk is DIRECTED to serve this Order on the Debtors, the Chapter 13

Trustee and all interested parties.

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